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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA


                                        Alexandria Division



 UNITED STATES OF AMERICA,

                          Plaintiff,
                                                                   Civil No. I:15-cv-n06


                                                                   Hon. Liam O'Grady
 ALL ASSETS IN AUSTRALIA AND
 ELSEWHERE LISTED IN ATTACHMENT
 A. AND ALL INTEREST. BENEFITS, AND
 ASSETS TRACEABLE THERETO,
 Defendants in Rem.




                           AMENDED ORDER STRIKING CLAIIVIS


         The Couil hereby issues this Amended Order Striking Claims, which replaces the Order

Striking Claims signed January 10,2018 (Dkt. 51). Pursuant to Magistrate Judge Nachmanoffs

Order (Dkt. 49), the Claimants are not in procedural default, as their Motion to Dismiss (Dkt. 39)

was timely tiled as of December 19, 2017.

         The Court, having con.sidercd the United States' motion to strike the claims of

Megamedia Limited, Megarolic Limited, Megaupload Limited, and Megavideo Limited {the

"Corporate Claimants"); Kim Dotcom; and Mathias Onmann, hereby finds the following:


    1. A warrant or similar process has been issued for Claimants Kim Dotcom and Mathias
       Onmann in a criminal case for the claimants' apprehension;

   2. Claimants Kim Dotcom and Mathias Ortmann have had notice or knowledge of the
         warrants;


    3.   The criminal case is related to this forfeiture action;

    4.   Claimants Kim Dotcom and Mathias Onmann are not confined or otherwise held in
         custody in another jurisdiction;
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